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                            UNITED STATES DISTRICT COURT FOR
                             SOUTHERN DISTRICT OF FLORIDA
                                      (Miami Division)

                                  Case Number: 1:19-cv-20638-xxxx


  JUAN LLAURO, JORGE LLAURO,
  CARLOS LLAURO, SAMUEL ABAD,
  JOEL BRITO, and MARIA MARTINEZ,
  Individually, and CAPRI CONSTRUCTION CORP.,

         Plaintiffs,

  v.

  BROWARD COUNTY, FLORIDA, and
  DETECTIVE MICHAEL LINVILLE,
  DETECTIVE JOEL VALDES, both individually,

        Defendants.
  ____________________________________/

                                             COMPLAINT

         Plaintiffs JUAN LLAURO, JORGE LLAURO, CARLOS LLAURO (collectively, the

  “LLAUROS”), MARIA MARTINEZ, SAMUEL ABAD, And JOEL BRITO, individually,

  (collectively, all of the individual plaintiffs are referred to hereinafter as the “Individual

  Plaintiffs”) and CAPRI CONSTRUCTION CORP. (“Capri” or “Corporate Plaintiff”)

  (collectively, all of the plaintiffs are referred to hereinafter as the “Plaintiffs”), by and through

  undersigned counsel, sue Defendants BROWARD COUNTY, FLORIDA (“Broward”), and

  Detectives MICHAEL LINVILLE, and JOEL VALDES, individually (collectively, the

  “Individual Defendants”) (all defendants are collectively hereinafter referred to as the

  “Defendants”), and allege the following:




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                                        JURISDICTION AND VENUE

           1.       This is an action for damages in excess of $15,000 against Defendants, exclusive

  of costs and interest, brought pursuant to 42 U.S.C. §§ 1983 and 1988, and applicable state and

  other federal law, for unlawfully and unconstitutionally drafting, executing, and acting upon, and

  causing others to act, upon a materially false probable cause affidavit against Plaintiffs, and

  failing to take actions to prevent such violations of law from occurring, despite audio and video

  evidence, and other evidence or lack thereof1, disproving probable cause, and failing to advise

  the criminal court judge of such facts, thereby misleading her into signing the arrest and search

  warrants. It led to their unlawful arrest, incarceration, phony civil forfeiture proceedings, and

  wrongful taking involving their personal and business bank accounts, amounting to, among other

  legal violations, deprivation and violations of their constitutionally protected rights and

  entitlements, and violations of other federal laws and state laws.

           2.       This Court has jurisdiction over this action in that the controversy arises under the

  United States Constitution and under 42 U.S.C. §§ 1983 and 1988. Plaintiffs further invoke the

  supplemental jurisdiction of this Court under 23 U.S.C. § 1367(a) to hear and adjudicate state

  law claims.

           3.       Individual Plaintiffs are Florida residents residing in and Miami-Dade County,

  Florida, or nearby.




  1
    As mentioned in paragraph 21, below, the Office of Insurance Regulation of Florida (“OIR”) has ruled that actual
  proof of the existence of workers not reported by their employer to their workers compensation insurance carrier is a
  prerequisite to any entitlement to additional insurance premiums and it is the carrier’s burden to prove such facts. If
  the Defendants claimed fraud by Plaintiffs for failure to report workers to their workers compensation carrier,
  Bridgefield, then ergo they must have had the names and other identifying information for the workers per the ruling
  of OIR. Instead, Individual Defendants contacted Bridgefield and had its representative sign a phony affidavit
  stating that the Plaintiffs had millions of unpaid workers compensation premiums, as told to Bridgefield by
  individual defendants. Interestingly, the evidence will bear out that Bridgefield audited Capri yearly and had found
  no evidence of such allegations of fraud.

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         4.     Plaintiff Capri is a Florida corporation headquartered in and doing business in

  Miami-Dade County, Florida.

         5.     Broward County is a political subdivision of the State of Florida. Members of its

  agency, the Broward County Sheriff’s Office (the “BSO”) and/or a joint task force controlled

  and or operated by the BSO and purportedly investigating workers compensation fraud

  committed acts in Miami-Dade County that are the subject of this Complaint. Defendant Valdes

  is a Miami-Dade County Detective assigned to the joint task force under the supervision of the

  BSO.

         6.     Upon information and belief, Michael Linville is a Florida resident residing in

  Broward County, Florida.

         7.     Upon information and belief, Joel Valdes is a Florida resident residing in Miami-

  Dade County, Florida.

         8.     The pertinent facts and circumstances alleged herein, and the resulting damages,

  occurred or did not occur in Miami-Dade County, Florida. Additionally, one of the defendants,

  Valdes, resides in Miami-Dade County, Florida. Therefore, venue is proper in this district under

  28. U.S.C. 1391(b).

                                     GENERAL ALLEGATIONS

          9.    This lawsuit arises because the BSO orchestrated a phony “money grab”,

  intentional and malevolent “false arrest and imprisonment” and malicious prosecution, and

  “coverup” coercion and extortion, all the while fabricating purported probable cause to

  bamboozle the Miami-Dade State Attorney’s Office into filing one or more false arrest affidavits

  and misleading a state criminal court judge into executing one or more arrest warrants and search

  warrants without probable cause.



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          10.   Each action or inaction of the Defendants that gave rise to the causes of action

  alleged in this Complaint are due to a conscious disregard of proper practices and procedures in

  investigating and charging defendants with alleged crimes based on probable cause. Each such

  action or inaction evidence a pattern of conduct that the BSO intended in order to obtain

  additional funds to directly or indirectly supplement the pay of its detectives, pay for desired

  equipment or other expenses in the guise of “investigative costs”, all without proper checks and

  balances or supervision.

          11.   At all relevant times, individual Plaintiffs worked for Plaintiff construction

  company Capri.

          12.   At all relevant times, Michael Linville was a detective with the Broward County

  Sheriff’s Office assigned to the Broward County Sheriff’s Office Strategic Investigations

  Division, Money Laundering Task Force (“MLTF”), and the Broward Sheriff’s Office, Strategic

  Investigations Division, as part of a Multi-Agency Workers’ Compensation Fraud Task Force

  (“WCFTF”) of or in Broward County, Florida.

          13.   At all relevant times, Joel Valdes was a Miami-Dade County Sheriff’s Office

  Detective assigned to one or more of the MLTF and the WCFTF.

          14.   The governing documents for the MLTF and the WCFTF are attached hereto as

  Composite Exhibit “A”.

          15.   On January 2016, Detectives Linville and Valdes (the “BSO Detectives”),

  executed a materially false and misleading probable cause affidavit against the Plaintiffs in

  Miami-Dade County, attached hereto as Exhibit “B”, all for presentation through Miami-Dade

  Assistant State Attorney Kerry Crocket (the “ASO”) to Miami-Dade State Circuit Judge

  Miranda. As stated below, such Judge later came to learn that the ASO did not conduct an



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  independent determination of probable cause and, instead, relied exclusively on the police

  officers for evidence of probable cause to issue the warrants.

          16.       The BSO Detectives knew or should have known, in the exercise of due care that

  the affidavit was unfounded and based on fabricated, incomplete, coerced, and false information.

  In fact, the affidavit materially omits exculpatory information, e.g., the existence of video/audio

  recordings that proved one or more of the key defendants in the ensuing criminal proceedings

  were not violating applicable law or merited any criminal charges and any mention of the OIR

  ruling requiring actual names and other identifying information of unreported workers. The

  recordings also discredited the principal ci’s/cw’s that are referenced in the phony probable

  cause affidavit.

          17.       The BSO Detectives, in particular the Individual Defendants, knew or should

  have known, in the exercise of due care, that the affidavit was not supported by probable cause;

  thus, the BSO lacked probable cause for the arrest and incarceration of the Individual Plaintiffs

  and the resulting seizure of business records, computers, and bank accounts of practically all of

  the Plaintiffs and, as applicable, their spouses.

          18.       The probable cause affidavit falsely accused Plaintiffs of engaging in an elaborate

  scheme of workers compensation insurance fraud, effectively because Capri paid its

  subcontractors with checks and then after learning of the check cashing store seizures changed to

  direct deposit.     At the time the BSO Detectives executed their unfounded probable cause

  affidavit, Defendants had no credible or actual evidence that any of the Plaintiffs had broken any

  laws. In fact, as mentioned above, the BSO Detectives had taped conversations that proved the

  opposite, i.e., the Defendants were not engaged in any wrongdoing.




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          19.    On Page 34, the probable cause affidavit falsely claims that from December 23,

  2013 to December 23, 2014, Capri paid $14,042,132.38 in unreported payroll for unreported

  employees. This was completely false and Defendants had no basis for claiming that these

  payments were for Capri’s payroll. The prosecutor eventually admitted during the criminal

  proceedings that there was no evidence of any wrongdoing or that any such payments were for

  unreported Capri employees.

          20.    In fact, the Detectives failed to follow the ruling of the Office of Insurance

  Regulation in In the Matter of WJP Roofing Contractors, Workers Compensation Appeal, Case

  No: 108490-10, which the First District Court of Appeal affirmed on appeal. The final order is

  attached as Exhibit “C”. That case holds the workers compensation insurer seeking to assess

  additional premiums for workers compensation insurance must prove the existence and identity

  of any unreported workers compensation employee of the contractor. By extension, in order to

  prove the criminal failure to report employees to its workers compensation insurance carrier, law

  enforcement must prove not only the existence or identify of such employees, but that the failure

  was intentional. Here, the BSO did not have any evidence of either fact necessary for probable

  cause but misused their arrest, seizure, and police powers to engage in constitutional and other

  legal violations, and misrepresented and omitted crucial facts from the arrest affidavits, all to

  engage in a fishing expedition, extort $250,000, and maliciously prosecute, wrongly arrest and

  incarcerate practically all of the Individual Plaintiffs in a constitutionally offensive manner, fully

  well knowing it was intentionally doing so. The Individual Defendants acted for themselves and

  for the BSO in “phonying up” the affidavit and deceiving the Miami-Dade SAO and the criminal

  court into seeking and issuing arrest warrants without probable cause. Each detective earned

  overtime and benefits, as well as “points” with their superiors at the BSO due to their wrongful



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  acts against Plaintiffs. The BSO also was in line to obtain a large sum of money in forfeiture for

  use in its general operations if the phony charges stuck and the Plaintiffs forfeited millions of

  dollars.

             21.   On Page 35, the probable cause affidavit also claims that from December 23,

  2014 to December 23, 2015, Capri paid $3,299,935.11 in unreported payroll for unreported

  employees. This was false and Defendants had no basis for claiming that these payments were

  by Capri for its payroll. The prosecutor eventually admitted during the criminal proceedings that

  there was no evidence of any wrongdoing or that any of these payments were for unreported

  Capri employees.

             22.   Detectives Linville and Valdes used the false probable cause affidavits to arrest

  practically all of the Individual Plaintiffs, cause the Miami-Dade SAO to file false criminal

  charges against them, and seize practically all of their and Capri’s bank accounts, and take all of

  Capri’s computers and business records, severely and negatively impacting the business and

  business prospects of Plaintiff Capri.     One or more of the BSO Detectives even told an

  investigator with Capri’s workers compensation insurer, Melodie Richardi, that Capri had

  received a stop work order for workers compensation fraud and such insurer cancelled the

  workers compensation policy, creating business uncertainty and lost profits for Capri, which lost

  value in the millions.

             23.   Upon information and belief, detectives at the WCFTF used the money obtained

  through civil asset forfeiture to “fund” their task force (i.e., paychecks, etc.). The governing

  documents of the task force do not reveal oversight by an independent third party or other

  mechanism to prevent the constitutional violations that occurred with respect to practically all of

  the Individual Defendants.



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           24.   During the criminal proceedings, it became evident what was known to the

  Defendants all along, i.e., that the evidence alleged in the probable cause affidavit was phony

  and used to obtain a “do or die” search warrant in the hopes of landing enough fish on their

  fishing expedition to “back door” probable cause. It all amounted to bad faith, unlawful seizure,

  and deprivation of Plaintiffs’ constitutional rights. Again, the BSO failed to implement proper

  safeguards to prevent wrongful acts by their detectives using the task force to supplement their

  income and the BSO’s budget for executive compensation and perks, without limitation.

           25.   Despite the outrageous and clear violations of Section 1983 and due process, the

  BSO Detectives even tried pre-arrest to find probable cause for the arrests and warrants by

  engaging in unethical and sanctionable surveillance tactics of attorney-client meetings using an

  undercover informant.

           26.   The Judge overseeing the criminal proceedings chastised the prosecutor in open

  court for relying on the detective’s false probable cause affidavits in preparing the arrest and

  search warrant and superseding indictment and not conducting her own probable cause

  determination and obtaining proof of it prior to the indictment.

           27.   The criminal proceedings were terminated in favor of the Plaintiff when the

  prosecutor had no choice but the drop all charges against the Plaintiffs or face sanctions from the

  court.

           28.   The Plaintiffs were, thus, wrongly arrested, falsely imprisoned, wrongfully

  deprived of their assets, and criminally charged in what amounted to a “money grab” by the BSO

  and its detectives. The BSO used the false affidavit to take the assets of Capri and the Plaintiffs,

  knowing that there was no lawful basis for taking those assets. BSO demanded a 10% payment




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  ($250,000) of the assets taken or they would use motions, appeals, and other delay tactics to stall

  the resolution of the civil forfeiture case until the Plaintiffs went bankrupt.

          29.     Given the coercion and likely financial ruin, Plaintiffs had no realistic choice but

  to agree to pay a portion to Defendant Broward County of the wrongfully taken funds, as the

  funds were needed to keep the business running and pay bills, including, without limitation, the

  cancer treatment of Jorge Llauro’s wife (who passed away without knowing that the false

  charges against her husband would be completely disproven).

          30.     Plaintiffs had never been arrested before, and being put through this process on

  false charges caused them a great deal of stress and mental anguish.

          31.     Detectives Linville and Valdes and the BSO did not care about the damage they

  did to innocent lives and a vibrant business so long as they got their civil asset forfeiture money.

  They were willing to create false probable cause affidavits so that they could force innocent

  persons and Capri to pay off the BSO or face bankruptcy. They believed they were above the

  law.

         32.      All conditions precedent to the filing of this action have occurred and/or have

  been waived, including notice pursuant to Florida Statutes §768.28. See attached Composite

  Exhibit “D”.

                    COUNT I – SECTION 1983 CLAIM OF JUAN LLAURO

                                      (Against Michael Linville)

         33.      This is an action by Juan Llauro against Michael Linville in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

         34.      Juan Llauro realleges the allegations in paragraphs 1 through 32, as if fully set

  forth herein.



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            35.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            36.   The United States Constitution clearly prohibits a police officer from making

  false statements in an arrest affidavit about the probable cause for an arrest.

            37.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

            38.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Juan Llauro

  and the seizure of Plaintiffs’ assets.

            39.   The false statements and omissions were material to a finding of probable cause.

            40.   As a result of Michael Linville’s actions, Juan Llauro suffered damages in having

  to defend against the criminal charges brought as a result of the fraudulent affidavit. He suffered

  lost income, lost value of the stock and business of Capri, forfeiture of ten percent of the seized

  assets, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Juan Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                    COUNT II – SECTION 1983 CLAIM OF JUAN LLAURO

                                           (Against Joel Valdes)

          41.     This is an action by Juan Llauro against Joel Valdes in excess of $15,000 under

  42 U.S.C. §§ 1983 and 1988.

          42.     Juan Llauro realleges the allegations in paragraphs 1 through 32, as if fully set

  forth herein.

          43.     The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

          44.     The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

          45.     Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

          46.     The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Juan Llauro

  and the seizure of Plaintiffs’ assets.

          47.     The false statements and omissions were material to a finding of probable cause.

          48.     As a result of Joel Valdes’ actions, Juan Llauro suffered damages, including,

  without limitation, attorney’s fees and costs incurred in having to defend against the criminal

  charges brought as a result of the fraudulent probable cause affidavit. He also suffered lost



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  income, lost value of the stock and business of Capri, forfeiture of ten percent of the seized

  assets, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Juan Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                     COUNT III – SECTION 1983 CLAIM JUAN LLAURO

                                       (Against Broward County)

            49.   This is an action by Juan Llauro against Broward County in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

            50.   Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

            51.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            52.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

            53.   Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Juan Llauro’s arrest.




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           54.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Juan Llauro

  and the seizure of Plaintiffs’ assets.

           55.    The false statements and omissions were material to a finding of probable cause.

           56.    At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.

           57.    Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

           58.    In fact, the BSO’s failure to implement safeguard policies and procedures

  effectively caused its detectives to embellish, falsify, and fabricate probable cause and use

  erroneous affidavits in order to facilitate obtaining funds through civil asset forfeitures. The

  BSO acted as if it understood that even if the charges were ultimately dismissed as fraudulent,

  the BSO would still be able to keep any funds taken from falsely accused citizens.

           59.    As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Juan Llauro suffered damages in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He suffered lost income, lost value of the

  stock and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Juan Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                         COUNT IV – FALSE ARREST JUAN LLAURO

                                      (Against Michael Linville)

           60.    This is an action by Juan Llauro against Michael Linville in excess of $15,000

  for false arrest.

           61.    Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           62.    Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

           63.    The false statements and omissions were material to a finding of probable cause.

           64.    As a result of Michael Linville’s actions, Juan Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Juan Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                          COUNT V – FALSE ARREST JUAN LLAURO

                                        (Against Joel Valdes)

           65.    This is an action by Juan Llauro against Joel Valdes in excess of $15,000 for

  false arrest.




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           66.    Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           67.    Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

           68.    The false statements and omissions were material to a finding of probable cause.

           69.    As a result of Joel Valdes’ actions, Juan Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Juan Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                     COUNT VI – FALSE IMPRISOMENT JUAN LLAURO

                                      (Against Michael Linville)

           70.    This is an action by Juan Llauro against Michael Linville in excess of $15,000

  for false imprisonment.

           71.    Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           72.    Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to




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  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

           73.    The false statements and omissions were material to a finding of probable cause.

           74.    As a result of Michael Linville’s actions, Juan Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Juan Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT VII – FALSE IMPRISONMENT JUAN LLAURO

                                        (Against Joel Valdes)

           75.    This is an action by Juan Llauro against Joel Valdes in excess of $15,000 for

  false imprisonment.

           76.    Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           77.    Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Juan Llauro’s arrest.

           78.    The false statements and omissions were material to a finding of probable cause.




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           79.    As a result of Joel Valdes’ actions, Juan Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Juan Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT VIII – VICARIOUS LIABILITY JUAN LLAURO
                                (Against Broward County)

           80.    This is an action by Juan Llauro against Broward County in excess of $15,000

  for vicarious liability for the actions of Michael Linville and Joel Valdes in procuring the false

  arrest and false imprisonment of Juan Llauro.

           81.    Juan Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           82.    Juan Llauro assert vicarious liability against Defendant Broward County for all

  actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and false

  imprisonment of Juan Llauro, who engaged in the described conduct while acting in the course

  and scope of employment for Broward County or as its agents, and carried out the policies,

  customs, practices, and procedures of Broward County’s sheriff department.

           83.    As a result, Juan Llauro suffered damages in being arrested and imprisoned as a

  result of the fraudulent affidavit. He suffered lost income, lost value of the stock and business of

  Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental anguish from his




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  arrest and imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Juan Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                    COUNT IX – SECTION 1983 CLAIM JORGE LLAURO

                                       (Against Michael Linville)

           84.    This is an action by Jorge Llauro against Michael Linville in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

           85.    Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           86.    The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

           87.    The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

           88.    Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.




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           89.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Jorge

  Llauro and the seizure of Plaintiffs’ assets.

           90.    The false statements and omissions were material to a finding of probable cause.

           91.    As a result of Michael Linville’s actions, Jorge Llauro suffered damages,

  including, without limitation, attorney’s fees and costs in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He also suffered lost income, lost value of

  the stock and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees,

  mental anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Jorge Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                     COUNT X – SECTION 1983 CLAIM JORGE LLAURO

                                         (Against Joel Valdes)

           92.    This is an action by Jorge Llauro against Joel Valdes in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

           93.    Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           94.    The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.




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           95.    The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

           96.    Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.

           97.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Jorge

  Llauro and the seizure of Plaintiffs’ assets.

           98.    The false statements and omissions were material to a finding of probable cause.

           99.    As a result of Joel Valdes’ actions, Jorge Llauro suffered damages, including,

  without limitation, attorney’s fees and costs incurred in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He also suffered lost income, lost value of

  the stock and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees,

  mental anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Jorge Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                    COUNT XI – SECTION 1983 CLAIM JORGE LLAURO

                                      (Against Broward County)

           100.   This is an action by Jorge Llauro against Broward County in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.




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          101.    Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

          102.    The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

          103.    The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

          104.    Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Jorge Llauro’s arrest.

          105.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Jorge

  Llauro and the seizure of Plaintiffs’ assets.

          106.    The false statements and omissions were material to a finding of probable cause.

          107.    At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.

          108.    Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

          109.    In fact, the BSO’s policies and procedures effectively caused its detectives to

  embellish and fabricate evidence and use erroneous affidavits in order to facilitate obtaining

  funds through civil asset forfeitures. The BSO acted as if it understood that even if the charges



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  were ultimately dismissed as fraudulent, the BSO would still be able to keep any funds taken

  from falsely accused citizens.

           110.   As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Jorge Llauro suffered damages in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He suffered lost income, lost value of the

  stock and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Jorge Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                        COUNT XII – FALSE ARREST JORGE LLAURO

                                      (Against Michael Linville)

           111.   This is an action by Jorge Llauro against Michael Linville in excess of $15,000

  for false arrest.

           112.   Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           113.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.

           114.   The false statements and omissions were material to a finding of probable cause.

           115.   As a result of Michael Linville’s actions, Jorge Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock



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  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Jorge Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                       COUNT XIII – FALSE ARREST JORGE LLAURO

                                        (Against Joel Valdes)

           116.   This is an action by Jorge Llauro against Joel Valdes in excess of $15,000 for

  false arrest.

           117.   Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           118.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.

           119.   The false statements and omissions were material to a finding of probable cause.

           120.   As a result of Joel Valdes’ actions, Jorge Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Jorge Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.



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                  COUNT XIV – FALSE IMPRISONMENT JORGE LLAURO

                                     (Against Michael Linville)

           121.   This is an action by Jorge Llauro against Michael Linville in excess of $15,000

  for false imprisonment.

           122.   Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           123.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.

           124.   The false statements and omissions were material to a finding of probable cause.

           125.   As a result of Michael Linville’s actions, Jorge Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Jorge Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT XV – FALSE IMPRISONMENT JORGE LLAURO

                                        (Against Joel Valdes)

           126.   This is an action by Jorge Llauro against Joel Valdes in excess of $15,000 for

  false imprisonment.



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           127.   Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           128.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Jorge Llauro’s arrest.

           129.   The false statements and omissions were material to a finding of probable cause.

           130.   As a result of Joel Valdes’ actions, Jorge Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Jorge Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT XVI – VICARIOUS LIABILITY JORGE LLAURO

                                     (Against Broward County)

           131.   This is an action by Jorge Llauro against Broward County in excess of $15,000

  for vicarious liability for the actions of Michael Linville and Joel Valdes in procuring the false

  arrest and false imprisonment of Jorge Llauro.

           132.   Jorge Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.




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           133.   Jorge Llauro assert vicarious liability against Defendant Broward County for all

  actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and false

  imprisonment of Jorge Llauro, who engaged in the described conduct while acting in the course

  and scope of employment for Broward County or as its agents, and carried out the policies,

  customs, practices, and procedures of Broward County’s sheriff department.

           134.   As a result, Jorge Llauro suffered damages in being arrested and imprisoned as a

  result of the fraudulent affidavit. He suffered lost income, lost value of the stock and business of

  Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental anguish from his

  arrest and imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Jorge Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XVII – SECTION 1983 CLAIM CARLOS LLAURO

                                       (Against Michael Linville)

           135.   This is an action by Carlos Llauro against Michael Linville in excess of

  $15,000 under 42 U.S.C. §§ 1983 and 1988.

           136.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           137.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.



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           138.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

           139.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

           140.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Carlos

  Llauro and the seizure of Plaintiffs’ assets.

           141.   The false statements and omissions were material to a finding of probable cause.

           142.   As a result of Michael Linville’s actions, Carlos Llauro suffered damages in

  having to defend against the criminal charges brought as a result of the fraudulent affidavit. He

  suffered lost income, lost value of the stock and business of Capri, forfeiture of ten percent of the

  seized assets, attorney’s fees, mental anguish from his arrest, and deprivation of his

  constitutional rights.

           WHEREFORE, Carlos Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XVIII – SECTION 1983 CLAIM CARLOS LLAURO

                                         (Against Joel Valdes)

           143.   This is an action by Carlos Llauro against Joel Valdes in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.




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            144.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

            145.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            146.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

            147.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

            148.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Carlos

  Llauro and the seizure of Plaintiffs’ assets.

            149.   The false statements and omissions were material to a finding of probable cause.

            150.   As a result of Joel Valdes’ actions, Carlos Llauro suffered damages in having to

  defend against the criminal charges brought as a result of the fraudulent affidavit. He suffered

  lost income, lost value of the stock and business of Capri, forfeiture of ten percent of the seized

  assets, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Carlos Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and



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  costs.

                   COUNT XIX – SECTION 1983 CLAIM CARLOS LLAURO

                                       (Against Broward County)

           151.   This is an action by Carlos Llauro against Broward County in excess of

  $15,000 under 42 U.S.C. §§ 1983 and 1988.

           152.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           153.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

           154.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

           155.   Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Carlos Llauro’s arrest.

           156.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Carlos

  Llauro and the seizure of Plaintiffs’ assets.

           157.   The false statements and omissions were material to a finding of probable cause.

           158.   At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.



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           159.   Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

           160.   In fact, the BSO’s policies and procedures effectively caused its detectives to

  embellish and fabricate evidence and use erroneous affidavits in order to facilitate obtaining

  funds through civil asset forfeitures. The BSO acted as if it understood that even if the charges

  were ultimately dismissed as fraudulent, the BSO would still be able to keep any funds taken

  from falsely accused citizens.

           161.   As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Carlos Llauro suffered damages in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He suffered lost income, lost value of the

  stock and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Carlos Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                       COUNT XX – FALSE ARREST CARLOS LLAURO

                                       (Against Michael Linville)

           162.   This is an action by Carlos Llauro against Michael Linville in excess of

  $15,000 for false arrest.

           163.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           164.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to



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  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

           165.   The false statements and omissions were material to a finding of probable cause.

           166.   As a result of Michael Linville’s actions, Carlos Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Carlos Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                      COUNT XXI – FALSE ARREST CARLOS LLAURO

                                        (Against Joel Valdes)

           167.   This is an action by Carlos Llauro against Joel Valdes in excess of $15,000 for

  false arrest.

           168.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           169.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

           170.   The false statements and omissions were material to a finding of probable cause.

           171.   As a result of Joel Valdes’ actions, Carlos Llauro suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock



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  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Carlos Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XXII – FALSE IMPRISONMENT CARLOS LLAURO

                                      (Against Michael Linville)

           172.   This is an action by Carlos Llauro against Michael Linville in excess of

  $15,000 for false imprisonment.

           173.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           174.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

           175.   The false statements and omissions were material to a finding of probable cause.

           176.   As a result of Michael Linville’s actions, Carlos Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Carlos Llauro demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and



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  costs.

                  COUNT XXIII – FALSE IMPRISONMENT CARLOS LLAURO

                                        (Against Joel Valdes)

           177.   This is an action by Carlos Llauro against Joel Valdes in excess of $15,000 for

  false imprisonment.

           178.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           179.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Carlos Llauro’s arrest.

           180.   The false statements and omissions were material to a finding of probable cause.

           181.   As a result of Joel Valdes’ actions, Carlos Llauro suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, lost value of the stock

  and business of Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental

  anguish from his imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Carlos Llauro demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                  COUNT XXIV – VICARIOUS LIABILITY CARLOS LLAURO

                                     (Against Broward County)

           182.   This is an action by Carlos Llauro against Broward County in excess of

  $15,000 for vicarious liability for the actions of Michael Linville and Joel Valdes in procuring

  the false arrest and false imprisonment of Carlos Llauro.

           183.   Carlos Llauro realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           184.   Carlos Llauro assert vicarious liability against Defendant Broward County for all

  actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and false

  imprisonment of Carlos Llauro, who engaged in the described conduct while acting in the course

  and scope of employment for Broward County or as its agents, and carried out the policies,

  customs, practices, and procedures of Broward County’s sheriff department.

           185.   As a result, Carlos Llauro suffered damages in being arrested and imprisoned as a

  result of the fraudulent affidavit. He suffered lost income, lost value of the stock and business of

  Capri, forfeiture of ten percent of the seized assets, attorney’s fees, mental anguish from his

  arrest and imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Carlos Llauro demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                     COUNT XXV – SECTION 1983 CLAIM SAMUEL ABAD

                                       (Against Michael Linville)

         186.     This is an action by Samuel Abad against Michael Linville in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

         187.     Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

         188.     The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”.        This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

         189.     The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

         190.     Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Samuel Abad’s arrest.

         191.     The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Samuel

  Abad and the seizure of Plaintiffs’ assets.

         192.     The false statements and omissions were material to a finding of probable cause.

         193.     As a result of Michael Linville’s actions, Samuel Abad suffered damages in

  having to defend against the criminal charges brought as a result of the fraudulent affidavit. He




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  suffered lost income, attorney’s fees, mental anguish from his arrest, and deprivation of his

  constitutional rights.

            WHEREFORE, Samuel Abad demands judgment against Michael Linville for damages,

   including, without limitation, consequential damages, incidental damages, attorney’s fees and

   costs.

                     COUNT XXVI – SECTION 1983 CLAIM SAMUEL ABAD

                                         (Against Joel Valdes)

            194.   This is an action by Samuel Abad against Joel Valdes in excess of $15,000 under

   42 U.S.C. §§ 1983 and 1988.

            195.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

   forth herein.

            196.   The Fourth Amendment requires that arrest warrants be based “upon probable

   cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

   materially false statements and omissions of fact are made in an affidavit supporting an

   application for an arrest warrant.

            197.   The United States Constitution prohibits a police officer from making false

   statements in an arrest affidavit about the probable cause for an arrest.

            198.   Joel Valdes knew or should have known in the exercise of due care that the

   probable cause affidavit was false, misleading, and contained material omissions intended to

   ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

   for Samuel Abad’s arrest.




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            199.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Samuel

  Abad and the seizure of Plaintiffs’ assets.

            200.   The false statements and omissions were material to a finding of probable cause.

            201.   As a result of Joel Valdes’ actions, Samuel Abad suffered damages in having to

  defend against the criminal charges brought as a result of the fraudulent affidavit. He suffered

  lost income, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Samuel Abad demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                    COUNT XXVII – SECTION 1983 CLAIM SAMUEL ABAD

                                       (Against Broward County)

            202.   This is an action by Samuel Abad against Broward County in excess of

  $15,000 under 42 U.S.C. §§ 1983 and 1988.

            203.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

            204.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            205.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.



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          206.    Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Samuel Abad’s arrest.

          207.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Samuel

  Abad and the seizure of Plaintiffs’ assets.

          208.    The false statements and omissions were material to a finding of probable cause.

          209.    At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.

          210.    Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

          211.    In fact, the BSO’s policies and procedures effectively caused its detectives to

  embellish and fabricate evidence and use erroneous affidavits in order to facilitate obtaining

  funds through civil asset forfeitures. The BSO acted as if it understood that even if the charges

  were ultimately dismissed as fraudulent, the BSO would still be able to keep any funds taken

  from falsely accused citizens.

          212.    As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Samuel Abad suffered damages in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his arrest, and deprivation of his constitutional rights.

          WHEREFORE, Samuel Abad demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and



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  costs.

                      COUNT XXVIII – FALSE ARREST SAMUEL ABAD

                                      (Against Michael Linville)

           213.   This is an action by Samuel Abad against Michael Linville in excess of $15,000

  for false arrest.

           214.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           215.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Samuel Abad’s arrest.

           216.   The false statements and omissions were material to a finding of probable cause.

           217.   As a result of Michael Linville’s actions, Samuel Abad suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Samuel Abad demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                       COUNT XXIX – FALSE ARREST SAMUEL ABAD

                                        (Against Joel Valdes)

           218.   This is an action by Samuel Abad against Joel Valdes in excess of $15,000 for

  false arrest.




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           219.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           220.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Samuel Abad’s arrest.

           221.   The false statements and omissions were material to a finding of probable cause.

           222.   As a result of Joel Valdes’ actions, Samuel Abad suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

           WHEREFORE, Samuel Abad demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XXX – FALSE IMPRISONMENT SAMUEL ABAD

                                      (Against Michael Linville)

           223.   This is an action by Samuel Abad against Michael Linville in excess of $15,000

  for false imprisonment.

           224.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           225.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Samuel Abad’s arrest.



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           226.   The false statements and omissions were material to a finding of probable cause.

           227.   As a result of Michael Linville’s actions, Samuel Abad suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his imprisonment, and deprivation of his constitutional rights, personal

  liberty, and freedom of movement.

           WHEREFORE, Samuel Abad demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XXXI – FALSE IMPRISONMENT SAMUEL ABAD

                                        (Against Joel Valdes)

           228.   This is an action by Samuel Abad against Joel Valdes in excess of $15,000 for

  false imprisonment.

           229.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           230.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Samuel Abad’s arrest.

           231.   The false statements and omissions were material to a finding of probable cause.

           232.   As a result of Joel Valdes’ actions, Samuel Abad suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his imprisonment, and deprivation of his constitutional rights, personal

  liberty, and freedom of movement.



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           WHEREFORE, Samuel Abad demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XXXII – VICARIOUS LIABILITY SAMUEL ABAD
                               (Against Broward County)

           233.   This is an action by Samuel Abad against Broward County in excess of $15,000

  for vicarious liability for the actions of Michael Linville and Joel Valdes in procuring the false

  arrest and false imprisonment of Samuel Abad.

           234.   Samuel Abad realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           235.   Samuel Abad asserts vicarious liability against Defendant Broward County for all

  actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and false

  imprisonment of Samuel Abad, who engaged in the described conduct while acting in the course

  and scope of employment for Broward County or as its agents, and carried out the policies,

  customs, practices, and procedures of Broward County’s sheriff department.

           236.   As a result, Samuel Abad suffered damages in being arrested and imprisoned as a

  result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental anguish from

  his arrest and imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

           WHEREFORE, Samuel Abad demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                     COUNT XXXIII – SECTION 1983 CLAIM JOEL BRITO

                                       (Against Michael Linville)

            237.   This is an action by Joel Brito against Michael Linville in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

            238.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            239.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            240.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

            241.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.

            242.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Joel Brito

  and the seizure of Plaintiffs’ assets.

            243.   The false statements and omissions were material to a finding of probable cause.

            244.   As a result of Michael Linville’s actions, Joel Brito suffered damages in having to

  defend against the criminal charges brought as a result of the fraudulent affidavit. He suffered




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  lost income, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Joel Brito demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                     COUNT XXXIV – SECTION 1983 CLAIM JOEL BRITO

                                          (Against Joel Valdes)

            245.   This is an action by Joel Brito against Joel Valdes in excess of $15,000 under 42

  U.S.C. §§ 1983 and 1988.

            246.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            247.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            248.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

            249.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.




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            250.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Joel Brito

  and the seizure of Plaintiffs’ assets.

            251.   The false statements and omissions were material to a finding of probable cause.

            252.   As a result of Joel Valdes’ actions, Joel Brito suffered damages in having to

  defend against the criminal charges brought as a result of the fraudulent affidavit. He suffered

  lost income, attorney’s fees, mental anguish from his arrest, and deprivation of his constitutional

  rights.

            WHEREFORE, Joel Brito demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                      COUNT XXXV – SECTION 1983 CLAIM JOEL BRITO

                                       (Against Broward County)

            253.   This is an action by Joel Brito against Broward County in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

            254.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            255.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            256.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.



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          257.    Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Joel Brito’s arrest.

          258.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Joel Brito

  and the seizure of Plaintiffs’ assets.

          259.    The false statements and omissions were material to a finding of probable cause.

          260.    At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.

          261.    Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

          262.    In fact, the BSO’s policies and procedures effectively caused its detectives to

  embellish and fabricate evidence and use erroneous affidavits in order to facilitate obtaining

  funds through civil asset forfeitures. The BSO acted as if it understood that even if the charges

  were ultimately dismissed as fraudulent, the BSO would still be able to keep any funds taken

  from falsely accused citizens.

          263.    As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Joel Brito suffered damages in having to defend against the criminal

  charges brought as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his arrest, and deprivation of his constitutional rights.

          WHEREFORE, Joel Brito demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and



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  costs.

                         COUNT XXXVI – FALSE ARREST JOEL BRITO

                                       (Against Michael Linville)

            264.   This is an action by Joel Brito against Michael Linville in excess of $15,000 for

  false arrest.

            265.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            266.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.

            267.   The false statements and omissions were material to a finding of probable cause.

            268.   As a result of Michael Linville’s actions, Joel Brito suffered damages in being

  arrested as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental

  anguish from his arrest, and deprivation of his constitutional rights.

            WHEREFORE, Joel Brito demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                        COUNT XXXVII – FALSE ARREST JOEL BRITO

                                          (Against Joel Valdes)

            269.   This is an action by Joel Brito against Joel Valdes in excess of $15,000 for false

  arrest.




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            270.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            271.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.

            272.   The false statements and omissions were material to a finding of probable cause.

            273.   As a result of Joel Valdes’ actions, Joel Brito suffered damages in being arrested

  as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental anguish

  from his arrest, and deprivation of his constitutional rights.

            WHEREFORE, Joel Brito demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT XXXVIII – FALSE IMPRISONMENT JOEL BRITO

                                       (Against Michael Linville)

            274.   This is an action by Joel Brito against Michael Linville in excess of $15,000 for

  false imprisonment.

            275.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            276.   Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.



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            277.   The false statements and omissions were material to a finding of probable cause.

            278.   As a result of Michael Linville’s actions, Joel Brito suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his imprisonment, and deprivation of his constitutional rights, personal

  liberty, and freedom of movement.

            WHEREFORE, Joel Brito demands judgment against Michael Linville for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                    COUNT XXXIX – FALSE IMPRISONMENT JOEL BRITO

                                          (Against Joel Valdes)

            279.   This is an action by Joel Brito against Joel Valdes in excess of $15,000 for false

  imprisonment.

            280.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            281.   Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Joel Brito’s arrest.

            282.   The false statements and omissions were material to a finding of probable cause.

            283.   As a result of Joel Valdes’ actions, Joel Brito suffered damages in being

  imprisoned as a result of the fraudulent affidavit. He suffered lost income, attorney’s fees,

  mental anguish from his imprisonment, and deprivation of his constitutional rights, personal

  liberty, and freedom of movement.



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            WHEREFORE, Joel Brito demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                       COUNT XL – VICARIOUS LIABILITY JOEL BRITO

                                       (Against Broward County)

            284.   This is an action by Joel Brito against Broward County in excess of $15,000 for

  vicarious liability for the actions of Michael Linville and Joel Valdes in procuring the false arrest

  and false imprisonment of Joel Brito.

            285.   Joel Brito realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            286.   Joel Brito asserts vicarious liability against Defendant Broward County for all

  actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and false

  imprisonment of Joel Brito, who engaged in the described conduct while acting in the course and

  scope of employment for Broward County or as its agents, and carried out the policies, customs,

  practices, and procedures of Broward County’s sheriff department.

            287.   As a result, Joel Brito suffered damages in being arrested and imprisoned as a

  result of the fraudulent affidavit. He suffered lost income, attorney’s fees, mental anguish from

  his arrest and imprisonment, and deprivation of his constitutional rights, personal liberty, and

  freedom of movement.

            WHEREFORE, Joel Brito demands judgment against Broward County for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.




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                  COUNT XLI – SECTION 1983 CLAIM MARIA MARTINEZ

                                       (Against Michael Linville)

         288.     This is an action by Maria Martinez against Michael Linville in excess of

  $15,000 under 42 U.S.C. §§ 1983 and 1988.

         289.     Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

         290.     The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

         291.     The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

         292.     Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.

         293.     The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Maria

  Martinez and the seizure of Plaintiffs’ assets.

         294.     The false statements and omissions were material to a finding of probable cause.

         295.     As a result of Michael Linville’s actions, Maria Martinez suffered damages in

  having to defend against the criminal charges brought as a result of the fraudulent affidavit. She




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  suffered lost income, attorney’s fees, mental anguish from her arrest, and deprivation of her

  constitutional rights.

          WHEREFORE, Maria Martinez demands judgment against Michael Linville for

  damages, including, without limitation, consequential damages, incidental damages, attorney’s

  fees and costs.

                    COUNT XLII – SECTION 1983 CLAIM MARIA MARTINEZ

                                          (Against Joel Valdes)

          296.      This is an action by Maria Martinez against Joel Valdes in excess of $15,000

  under 42 U.S.C. §§ 1983 and 1988.

          297.      Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

          298.      The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

          299.      The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.

          300.      Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.




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            301.   The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Maria

  Martinez and the seizure of Plaintiffs’ assets.

            302.   The false statements and omissions were material to a finding of probable cause.

            303.   As a result of Joel Valdes’ actions, Maria Martinez suffered damages in having to

  defend against the criminal charges brought as a result of the fraudulent affidavit. She suffered

  lost income, attorney’s fees, mental anguish from her arrest, and deprivation of her constitutional

  rights.

            WHEREFORE, Maria Martinez demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                   COUNT XLIII – SECTION 1983 CLAIM MARIA MARTINEZ

                                       (Against Broward County)

            304.   This is an action by Maria Martinez against Broward County in excess of

  $15,000 under 42 U.S.C. §§ 1983 and 1988.

            305.   Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

            306.   The Fourth Amendment requires that arrest warrants be based “upon probable

  cause, supported by Oath or affirmation”. This Fourth Amendment right is violated when

  materially false statements and omissions of fact are made in an affidavit supporting an

  application for an arrest warrant.

            307.   The United States Constitution prohibits a police officer from making false

  statements in an arrest affidavit about the probable cause for an arrest.



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          308.    Detectives Michael Linville and Joel Valdes knew or should have known in the

  exercise of due care that the probable cause affidavit was false, misleading, and contained

  material omissions intended to ensure the presiding judge would be duped into signing a

  constitutionally deficient arrest warrant for Maria Martinez’s arrest.

          309.    The affidavits omitted exculpatory evidence in an effort to make the affidavit

  misleading to the judge and facilitate the false arrest, imprisonment, and extortion of Maria

  Martinez and the seizure of Plaintiffs’ assets.

          310.    The false statements and omissions were material to a finding of probable cause.

          311.    At all relevant times, Detectives Linville and Valdes were acting within the

  course and scope of employment at the BSO, specifically the WCFTF.

          312.    Broward County failed to properly supervise its detectives or prevent them from

  filing false affidavits in order to arrest innocent persons.

          313.    In fact, the BSO’s policies and procedures effectively caused its detectives to

  embellish and fabricate evidence and use erroneous affidavits in order to facilitate obtaining

  funds through civil asset forfeitures. The BSO acted as if it understood that even if the charges

  were ultimately dismissed as fraudulent, the BSO would still be able to keep any funds taken

  from falsely accused citizens.

          314.    As a result of the detectives’ actions, effectively caused by the policies and

  procedures of the BSO, Maria Martinez suffered damages in having to defend against the

  criminal charges brought as a result of the fraudulent affidavit. She suffered lost income,

  attorney’s fees, mental anguish from her arrest, and deprivation of her constitutional rights.

          WHEREFORE, Maria Martinez demands judgment against Broward County for

  damages, including, without limitation, consequential damages, incidental damages, attorney’s



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  fees and costs.

                       COUNT XLIV – FALSE ARREST MARIA MARTINEZ

                                       (Against Michael Linville)

          315.      This is an action by Maria Martinez against Michael Linville in excess of

  $15,000 for false arrest.

          316.      Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

          317.      Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.

          318.      The false statements and omissions were material to a finding of probable cause.

          319.      As a result of Michael Linville’s actions, Maria Martinez suffered damages in

  being arrested as a result of the fraudulent affidavit. She suffered lost income, attorney’s fees,

  mental anguish from her arrest, and deprivation of her constitutional rights.

          WHEREFORE, Maria Martinez demands judgment against Michael Linville for

  damages, including, without limitation, consequential damages, incidental damages, attorney’s

  fees and costs.

                       COUNT XLV – FALSE ARREST MARIA MARTINEZ

                                          (Against Joel Valdes)

          320.      This is an action by Maria Martinez against Joel Valdes in excess of $15,000 for

  false arrest.




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           321.    Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           322.    Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.

           323.    The false statements and omissions were material to a finding of probable cause.

           324.    As a result of Joel Valdes’ actions, Maria Martinez suffered damages in being

  arrested as a result of the fraudulent affidavit. She suffered lost income, attorney’s fees, mental

  anguish from her arrest, and deprivation of her constitutional rights.

           WHEREFORE, Maria Martinez demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XLVI – FALSE IMPRISONMENT MARIA MARTINEZ

                                      (Against Michael Linville)

           325.    This is an action by Maria Martinez against Michael Linville in excess of

  $15,000 for false imprisonment.

           326.    Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           327.    Michael Linville knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.



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         328.       The false statements and omissions were material to a finding of probable cause.

         329.       As a result of Michael Linville’s actions, Maria Martinez suffered damages in

  being imprisoned as a result of the fraudulent affidavit. She suffered lost income, attorney’s

  fees, mental anguish from her imprisonment, and deprivation of her constitutional rights,

  personal liberty, and freedom of movement.

         WHEREFORE, Maria Martinez demands judgment against Michael Linville for

  damages, including, without limitation, consequential damages, incidental damages, attorney’s

  fees and costs.

                  COUNT XLVII – FALSE IMPRISONMENT MARIA MARTINEZ

                                          (Against Joel Valdes)

         330.       This is an action by Maria Martinez against Joel Valdes in excess of $15,000 for

  false imprisonment.

         331.       Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

         332.       Joel Valdes knew or should have known in the exercise of due care that the

  probable cause affidavit was false, misleading, and contained material omissions intended to

  ensure the presiding judge would be duped into signing a constitutionally deficient arrest warrant

  for Maria Martinez’s arrest.

         333.       The false statements and omissions were material to a finding of probable cause.

         334.       As a result of Joel Valdes’ actions, Maria Martinez suffered damages in being

  imprisoned as a result of the fraudulent affidavit. She suffered lost income, attorney’s fees,

  mental anguish from her imprisonment, and deprivation of her constitutional rights, personal

  liberty, and freedom of movement.



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           WHEREFORE, Maria Martinez demands judgment against Joel Valdes for damages,

  including, without limitation, consequential damages, incidental damages, attorney’s fees and

  costs.

                  COUNT XLVIII – VICARIOUS LIABILITY MARIA MARTINEZ

                                       (Against Broward County)

           335.     This is an action by Maria Martinez against Broward County in excess of $15,000

  for vicarious liability for the actions of Michael Linville and Joel Valdes in procuring the false

  arrest and false imprisonment of Maria Martinez.

           336.     Maria Martinez realleges the allegations in paragraphs 1 through 32 as if fully set

  forth herein.

           337.     Maria Martinez asserts vicarious liability against Defendant Broward County for

  all actions undertaken by the Michael Linville and Joel Valdes in procuring the false arrest and

  false imprisonment of Maria Martinez, who engaged in the described conduct while acting in the

  course and scope of employment for Broward County or as its agents, and carried out the

  policies, customs, practices, and procedures of Broward County’s sheriff department.

           338.     As a result, Maria Martinez suffered damages in being arrested and imprisoned as

  a result of the fraudulent affidavit. She suffered lost income, attorney’s fees, mental anguish

  from her arrest and imprisonment, and deprivation of her constitutional rights, personal liberty,

  and freedom of movement.

           WHEREFORE, Maria Martinez demands judgment against Broward County for

  damages, including, without limitation, consequential damages, incidental damages, attorney’s

  fees and costs.




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                                COUNT XLIX – RESCISSION CAPRI

            339.    This is an action for rescission by Capri against Broward County.

            340.    Capri realleges the allegations in paragraphs 1 through 32 as if fully set forth

  herein.

            341.    On February 8, 2016, Capri and Broward County entered into a Settlement

  Agreement to resolve the civil asset forfeiture litigation between the parties. The Settlement

  Agreement is attached hereto as Exhibit “E”.

            342.    This Settlement Agreement was a result of duress, coercion, and fraud committed

  by Broward County against Capri.

            343.    The attorney for Broward County, Terrance O. Lynch, Esq., informed Plaintiff’s

  legal representatives that unless it entered into the Settlement Agreement, Broward County

  would continue to appeal the civil asset forfeiture litigation causing Capri to become bankrupt

  and limiting the ability of the Llauros to obtain needed medical care and life-prolonging

  medication, as well as put food on their tables, keep a roof over their heads and maintain their

  modes of transportation in a sprawling metropolis with woefully inadequate public

  transportation.

            344.    The Settlement Agreement was based on the phony sworn statements contained in

  the Verified Complaint for Forfeiture and Affidavit for Seizure Warrant, attached hereto as

  Composite Exhibit “F”.

            345.    After being forced by Broward County into signing the Settlement Agreement, the

  Llauro and Capri Plaintiffs discovered that the sworn facts that formed the basis of the

  Settlement Agreement were completely fabricated by the BSO Detectives.

            346.    The Affidavit for Seizure Warrant was sworn to by the BSO Detectives on behalf



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  of Broward County.

         347.    The Verified Complaint was sworn to by Detective Linville on behalf of Broward

  County, who stated that he had personal knowledge of the facts and matters stated therein.

         348.    Both the Affidavit and Verified Complaint contained sworn statements claiming

  that there were witnesses who said that Capri was engaging in workers compensation fraud.

         349.    During discovery in the related criminal proceedings, Capri discovered that the

  sworn statements of the BSO Detectives were complete lies.

         350.    The witnesses they claimed had evidence of wrongdoing were non-existent and

  the existing witnesses, such as Alberto Zelaya, had been taped denying any such wrongdoing and

  later stated under oath at deposition that there was no wrongdoing.

         351.    The BSO Detectives had no credible and actual evidence to support the false

  statements in their Verified Complaint and Affidavit for Seizure Warrant. They intentionally

  lied on these documents in order to fraudulently obtain Plaintiffs Llauros’ and Capri’s monies

  and later force the Settlement Agreement.

         352.    The Settlement Agreement was obtained through coercion, duress, and fraud by

  Broward County.      As a result, Capri was damaged when it had to pay Broward County

  $250,000.00 in civil asset forfeiture based on fraud and duress, and has incurred attorney’s fees

  and costs.

         WHEREFORE, the Settlement Agreement must be rescinded and Broward County must

  return to Capri the $250,000.00 payment it received, together with an award of attorney’s fees

  and costs.




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                                         JURY DEMAND

        Plaintiffs demand a trial by jury on all claims, defenses, and issues so triable in this case.

                                               Respectfully Submitted,


                                       By:            /s/ Richard A. Alayon
                                               Richard A. Alayon, Esq.
                                               Florida Bar No. 934290
                                               ALAYON & ASSOCIATES, P.A.
                                               135 San Lorenzo Avenue, Suite 820
                                               Coral Gables, Florida 33146
                                               Phone: (305) 221-2110
                                               Fax: (305) 221-5321
                                               Email: pleadings@alayonlaw.com
                                                      ralayon@alayonlaw.com



                                       By:            /s/ Richard J. Caldwell
                                               Richard J. Caldwell, Esq.
                                               Florida Bar No. 825654
                                               66 W. Flagler Street, Suite 60`
                                               Miami, FL 33130
                                               Phone: (305) 529-1040
                                               E-mail:caldwelllaw@bellsouth.net



                                       By:            /s/ Anthony Accetta
                                               Anthony Accetta, Esq.
                                               Florida Bar No. 148318
                                               LAW OFFICES OF ANTHONY ACCETTA PA
                                               135 San Lorenzo Avenue, Suite 820
                                               Coral Gables, Florida 33146
                                               Phone: (305) 448-4529
                                               E-mail:law@anthonyaccetta.com




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